   8:02-cr-00194-LSC         Doc # 147    Filed: 05/24/06     Page 1 of 2 - Page ID # 964




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:02CR194
                                             )
                        Plaintiff,           )
                                             )                  MEMORANDUM
               v.                            )                   AND ORDER
                                             )
ARTURO CARDENAS GUTIERREZ,                   )
                                             )
                        Defendant.           )

       This matter is before the court on the defendant’s motion for certificate of

appealability (Filing No. 143). The defendant, Arturo Cardenas Gutierrez, appeals from

the Memorandum and Order (Filing No.137) and Judgment (Filing No. 138) denying his

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody (“§ 2255 motion").

       However, before the defendant may appeal the denial of his § 2255 motion, a

“Certificate of Appealability” must issue. Pursuant to the Antiterrorism and Effective Death

Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal

the denial of a § 2255 motion is governed by the certificate of appealability requirements

of 28 U.S.C. § 2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability

may issue only if the applicant has made a substantial showing of the denial of a

constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

               (B) the final order in a proceeding under section 2255.

       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.
   8:02-cr-00194-LSC      Doc # 147      Filed: 05/24/06    Page 2 of 2 - Page ID # 965




       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the issues presented

were ‘adequate to deserve encouragement to proceed further.’” Slack v. McDaniel, 529

U.S. 473, 484 (2000) (citing Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)).

       For the reasons set forth in the court’s previously issued Memorandum and Order

(Filing No. 138) denying the defendant’s § 2255 motion, the court concludes that the

defendant has not made a substantial showing of the denial of a constitutional right as

required by 28 U.S.C. § 2253(c).

       IT IS ORDERED:

       1.     The motion for certificate of appealability (Filing No.143) is denied;

       2.     The motion for leave to proceed in forma pauperis (Filing No. 142) is

              granted;

       3.     The Clerk of Court shall provide a copy of this Order to the Eighth Circuit

              Court of Appeals; and

       4.     A copy of this Order shall be mailed to the defendant at his last known

              address.

       DATED this 24th day of May, 2006.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District

                                             2
